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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION


TRAVELERS CASUALTY & SURETY
COMPANY OF AMERICA                                                                  PLAINTIFF

V.                                             CIVIL ACTION NO.: 3:16CV00080-DMB-SAA

JIMMY DALLAN NELMS; JIMMY MITCHELL;
JOSEPH MCNAIR; DANNY PETERS; AND
JOHN DOES 1-10                                                                  DEFENDANTS


                      MEMORANDUM BRIEF IN SUPPORT OF
                  RESPONSE TO MOTION FOR DEFAULT JUDGMENT

       COMES NOW, defendant, Jimmy Mitchell, by and through counsel, and submits this

his memorandum brief in support of his response to Travelers’ motion for default judgment.

       In its complaint, Travelers demanded judgment from all defendants jointly and

severally. Because it is seeking judgment on a joint and several basis, their motion for default

judgment should be denied.

       While FRCP 55 allows for the court-ordered entry of default judgment, the courts have

been wary of an inequitable and inconsistent result when not all the defendants are part of

such a default. Where joint and several liability is at issue, the courts have held that a default

judgment against one defendant, but not all defendants is inappropriate.

       In Frow v. De La Vega, the U.S. Supreme Court stated that “a final decree on the

merits against the defaulting defendant alone, pending the continuance of the cause, would

be incongruous and illegal.” 82 U.S. 552, 554 (1872). Mississippi federal district courts have

relied on and echoed the holding in Frow, denying motions for default judgment because of

“the possibility of inconsistent judgments among the similarly situated Defendants. . . .” Wells

Fargo Bank, N.A. v. Planetta Custom Homes, LLC, 2013 WL 5445129 at *2 (S.D. Miss.) citing
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Frow v. De La Vega.

       Even more recently, in Allstate Property and Cas. Ins. Co. v. Moore, the district court

denied the plaintiff’s motion for default judgment wherein not all defendants failed to answer.

2014 WL 1400171 at *1 (S.D. Miss.). Allstate filed a declaratory judgment action against three

defendants, but two of the defendants failed to answer or appear. Id. Allstate asked the court

to enter a default judgment against the two non-answering defendants. Id. The court, however,

denied Allstate’s motion for default judgment, even though the motion requested the court to

“hold in abeyance its ruling on whether Allstate is entitled to joint and several judgment

against Moore and Morment” regarding investigative and litigation expenses. Id. In its

analysis, the court stated, “[a] party is not entitled to a default judgment as a matter of right,

even where the defendant is technically in default.” Id. “In fact, default judgments are a

drastic remedy, not favored by the Federal Rules and resorted to by courts only in extreme

situations.” Id.

       Even though the court recognized that two of the defendants were technically in

default, it held that “[w]hen joint and several liability is at issue, default judgment against

one, but not all, potentially liable defendants is not appropriate.” Id. at *2 (citing Wells Fargo

Bank, N.A. v. Planetta Custom Homes, LLC, and Frow v. De La Vega, supra). Despite Allstate

asking the court to hold the joint-and-several liability in abeyance, the court still held that “the

remaining claims against [the three defendants] are, at least to some degree, intertwined and

related. There is a risk that inconsistent judgments would result if the Court entered a default

judgment against Morment and Williams and Moore ultimately prevailed.” Id. at *2.

Consequently, the court denied the motion without prejudice. Id.

       The same situation is present here. Travelers alleges in its complaint that its claims



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against the defendants are intertwined and that the defendants are jointly and severally

liable. Consequently, a default judgment against some of the defendants would raise the

possibility of inconsistent judgments, and such a default judgment is not appropriate.

       WHEREFORE PREMISES CONSIDERED, this defendant prays that the court will

deny Travelers’ motion for default judgment.

       This the 6th day of May, 2016.

                                          Respectfully submitted,

                                          JIMMY MITCHELL - Defendant

                                          By: /s/ Lanny R. Pace
                                          LANNY R. PACE, MSB #9996
                                          Attorney for Defendant



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                               CERTIFICATE OF SERVICE

       I, Lanny R. Pace, hereby certify that I have this day sent via the Court’s ECF filing

system, a true and correct copy of the foregoing instrument to the following counsel of record:


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       This the 6th day of May, 2016.

                                                     /s/ Lanny R. Pace
                                                   LANNY R. PACE




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